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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                 CRIMINAL NO. 1:09CR52-4
                                               (Judge Keeley)

 ERIC BREWER,

                   Defendant.


             MEMORANDUM OPINION REGARDING APPLICABILITY OF
          FAIR SENTENCING ACT OF 2010 TO DEFENDANT’S SENTENCE


                                I. INTRODUCTION

       The defendant in this case, Eric Brewer (“Brewer”), came

 before the Court for sentencing on May 18, 2011, well after

 August 3, 2010, the effective date of the Fair Sentencing Act of

 2010 (“FSA”). Pub. L. No. 111-220. In the FSA, Congress recognized

 that applying a minimum mandatory five-year sentence to a defendant

 who dealt the amount of crack cocaine Brewer did is not “fair,”

 where a defendant would have to sell one hundred times as much

 powder     cocaine   to    receive    the    same    mandatory    sentence.

 Nevertheless, it neglected to extend the FSA’s provisions to

 conduct like Brewer’s that occurred before the law’s effective

 date. Accordingly, for the reasons that follow, the Court concluded

 that Brewer is subject to the minimum mandatory sentence of five

 years provided under the prior statutory scheme.
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                           II. FACTUAL BACKGROUND

       A grand jury returned the indictment in this case on April 14,

 2009, and a warrant for Brewer’s arrest issued that same day. The

 indictment named Brewer in two of its nineteen counts: conspiracy

 to possess with intent to distribute and to distribute five grams

 or more of cocaine base (Count One), and possession with intent to

 distribute five grams or more of cocaine base and less than one

 hundred grams of heroin (Count Seventeen).

       Authorities were unable to apprehend Brewer until October 6,

 2010. Following his arrest, pursuant to a plea agreement with the

 Government, on December 21, 2010, Brewer entered a plea of guilty

 to the possession of crack as charged in Count Seventeen, a

 violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B). The parties

 agreed that the statutory penalty for a § 841 (b)(1)(B) violation,

 involving more than five grams of crack, included at least five

 years’ incarceration under the version of the statute in effect at

 the time the indictment issued and Brewer’s drug dealing activity

 occurred. They further agreed, however, that Brewer would retain

 the right    to   argue   at   sentencing   that   the   minimum   mandatory

 sentence should not apply to his case, and also that he would

 retain the right to appeal on this ground should the Court not find

 in his favor.

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       At sentencing, counsel for Brewer, who had filed two thorough

 memoranda in aid of sentencing prior to the hearing, argued that

 the FSA’s provisions implicitly direct sentencing courts to apply

 the new drug weight thresholds of § 841(b)(1) to this and all

 sentencings occurring after August 3, 2010. As is relevant in this

 case, those thresholds require proof of more than twenty-eight

 grams   of    crack    for   a   mandatory   five-year    sentence.    While

 acknowledging that some district courts have so held, counsel for

 the Government argued that the overwhelming weight of developing

 case law interpreting the FSA, and prior precedent generally,

 require application of the statutory penalties in effect at the

 time Brewer committed his offense. The Court agreed, and sentenced

 Brewer to sixty months of incarceration.

          III. THE FAIR SENTENCING ACT AND THE SAVING CLAUSE

                       A. History of the Saving Clause

       Brewer’s misfortune results not from any affirmative act of

 Congress in the enactment of the FSA in 2010, but rather from its

 failure to override a statute first passed in 1871.

              The repeal of any statute shall not have the
              effect to release or extinguish any penalty,
              forfeiture, or liability incurred under such
              statute, unless the repealing act shall so
              expressly provide, and such statute shall be
              treated as still remaining in force for the
              purpose of sustaining any proper action or

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             prosecution for the enforcement            of   such
             penalty, forfeiture, or liability.

 16 Stat. 41, Cong. Ch. 72, § 4 (February 25, 1871). This “Saving

 Clause” is found unchanged today at 1 U.S.C. § 109.

                            B. Warden v. Marrero

       In Warden v. Marrero, 417 U.S. 653 (1974), a federal habeas

 petitioner    sought    the     benefit   of   newly-enacted    legislation

 repealing the prohibition of parole for certain federal drug

 offenses. See Comprehensive Drug Abuse Prevention and Control Act

 of 1970, 84 Stat. 1292. The Government urged that, in addition to

 saving clause language in the repealing act itself, § 109 prevented

 application of the repeal to any sentence imposed before its

 effective date. 417 U.S. at 655.

       In Marrero, the Supreme Court recognized that the             original

 purpose of the Saving Clause was

             to abolish the common-law presumption that the
             repeal of a criminal statute resulted in the
             abatement of all prosecutions which had not
             reached final disposition in the highest court
             authorized    to   review   them.   Common-law
             abatements resulted not only from unequivocal
             statutory repeals, but also from repeals and
             re-enactments    with   different   penalties,
             whether the re-enacted legislation increased
             or decreased the penalties.

 Id. at 660. Despite the relatively limited and technical problem to

 which the statute was addressed, the Supreme Court broadly read §

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 109 “to bar application of ameliorative criminal sentencing laws

 repealing harsher ones in force at the time of the commission of an

 offense.” Id. Thus, because the prohibition on parole to federal

 prisoners was an aspect of the “penalty, forfeiture or liability”

 for the criminal offense under § 109, it continued to apply to

 prisoners such as Marrero despite the statute’s repeal.               Id. at

 661.

        Justice Blackmun, joined by Justices Douglas and Marshall,

 dissented, arguing that the Court had never before applied the

 Saving Clause “other than to prevent technical abatement of a

 prosecution.” Id. at 665 (Blackmun, J., dissenting). Moreover,

 “Marrero was legislatively reversed within five months[.]” Herrera

 v. United States, 507 F.2d 143, 145 (5th Cir. 1975)(citing Pub.L.

 No. 93-481, § 2 (October 26, 1974)). Correcting its oversight,

 Congress specifically directed that the repeal of the parole ban

 would apply to those convicted under the prior law.

        Nevertheless, the general rule in Marrero remains; the Saving

 Clause of § 109 operates to preserve criminal penalties for conduct

 occurring while a statute is in effect unless Congress explicitly

 states otherwise. No such statement appears in the FSA.




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                       C. United States v. Douglas

       Relying on a narrow exception to the principle articulated in

 Marrero, however, some district courts have concluded that § 109

 does not operate to preserve the minimum mandatory thresholds of

 the previous version of § 841. For example, in United States v.

 Douglas, 746 F.Supp.2d 200 (D.Me. October 27, 2010), Judge Hornby

 rejected the Government’s argument that Marrero required the court

 to impose a minimum mandatory sentence where a defendant’s crimes

 and guilty plea occurred before the effective date of the FSA, even

 though his sentencing took place after that date. He first reviewed

 language from an earlier Supreme Court case interpreting the Saving

 Clause:

             “[T]he provisions of [the savings statute] are
             to be treated as if incorporated in and as a
             part of subsequent enactments, and therefore
             under the general principles of construction
             requiring, if possible, that effect be given
             to all the parts of a law the section must be
             enforced unless either by express declaration
             or necessary implication arising from the
             terms of the law, as a whole it results that
             the legislative mind will be set at naught by
             giving the effect to the provisions of [the
             savings statute].”

 Douglas at 230 (quoting Great Northern Railway Co. v. United

 States, 208 U.S. 452, 465 (1908))(emphasis and alterations in

 original). Then, after noting that Marrero had not overruled this


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 holding, Judge Hornby argued it actually had broadened the rule in

 Great Northern by authorizing a court to disregard the Saving

 Clause   when     such    congressional      intent     is   evident    by   “‘fair

 implication       or     expressly[,]’”       as   opposed      to     “necessary”

 implication, as originally stated in Great Northern. Douglas, 746

 F.Supp.2d at 230 (quoting Marrero, 417 U.S. at 659 n. 10)(emphasis

 in original).

       Armed with this more liberal interpretation, Judge Hornby

 concluded that several provisions of the FSA – importantly its

 directive to the United States Sentencing Commission to issue

 emergency    amendments      lowering       guideline    penalties     for    crack

 cocaine, and the statement in the Act’s preamble recognizing the

 unfairness of the prior law – manifested Congress’s intent that all

 future sentencings not be subject to the former minimum mandatory

 thresholds, and declined to apply a mandatory ten-year sentence in

 the defendant’s case. Douglas is now on appeal before the First

 Circuit.

                          D. United States v. Bullard

       Brewer relies heavily on Douglas to advance his argument for

 a sentence below five years. Its holding is of no aid to him,

 however.     In    United States v. Bullard, ___ F.3d ___, 2011 WL

 1718894, No. 09-5214 (4th. Cir. May 6, 2011), the Fourth Circuit

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 recently      held    that     Marrero      requires      application      of   penalty

 provisions in effect at the time a crime occurs. Although Bullard

 reserved      the    question         squarely   before     this   Court    regarding

 defendants sentenced after the FSA’s effective date, id. at n. 5,

 in holding that the FSA did not apply to a defendant whose appeal

 remained pending when the law changed, the Fourth Circuit stated

 broadly that § 109 “fully applies in the sentencing context and

 bars       ‘application      of    ameliorative     criminal       sentencing     laws

 repealing harsher ones in force at the time of the commission of an

 offense,’ absent an express statement that the law is intended to

 be applied retroactively.” Id. at 2011 WL 1718894 *10 (quoting

 Marrero, 417 U.S. at 653)(emphasis added).

        At sentencing, Brewer argued that Bullard’s reservation of the

 question      in    footnote      5    regarding   defendants      sentenced     after

 August 3, 2010, evinced a distinction between prospective and

 retroactive application of the FSA. That argument is unavailing,

 however, for it misses the critical point of Bullard, which focused

 not on the date of sentencing or conviction, but rather on when the

 defendant committed the offense.1 Thus, unless Congress acts to

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        This key principle from Bullard was stated even more broadly in an
 earlier, unpublished decision from our circuit, which held that the FSA "is not
 retroactive and is only applicable to defendants who commit their offenses after
 its effective date." United States v. McDougald, No. 10-4929 (4th Cir. April 1,
 2011)(per curiam).

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 explicitly grant relief to persons in Brewer’s situation, as it did

 in 1974 with regard to parole eligibility, this Court is without

 authority to impose a sentence below that mandated by the now-

 discarded version of § 841.

                                IV.   CONCLUSION

       The   Court   directs    the   Clerk       to transmit    copies   of   this

 Memorandum    Opinion   to    counsel       of   record   and   all   appropriate

 agencies.

 DATED: May 24, 2011.


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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